   Case 3:17-cv-00609-B Document 58 Filed 02/20/19                     Page 1 of 2 PageID 371


                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

TONY AND MII’S, INC.                             §
TONY THANGSONGCHAROEN, and                       §
SOMNUEK THANGSONGCHAROEN                         §    Case No. 3:17-cv-609-B
                                                 §
               Plaintiffs,                       §
                                                 §
       vs.                                       §
                                                 §
UNITED STATES OF AMERICA,                        §
                                                 §
               Defendant.                        §

                     NOTICE OF SETTLEMENT AND JOINT MOTION
                      FOR TEMPORARY STAY OF PROCEEDINGS

       The parties hereby notice the Court that they have reached a settlement in this matter, and

jointly request a temporary stay of proceedings for ninety (90) days during which time they will

fulfill their respective obligations under the settlement agreement.

       At the conclusion of this ninety day period, the parties anticipate filing a stipulation of

dismissal pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii). In the event that the parties need additional

time, they request that they be able to file a status report to inform the Court.

       Accordingly, the parties request that the Court stay all deadlines in this matter, and vacate

hearing on the United States’ Amended Motion for Protective Order [D.E. 43], currently set for

February 26, 2019; and the Pretrial Conference and Trial Setting, currently set for May 31, 2019

and June 3, 2019, respectively.




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   Case 3:17-cv-00609-B Document 58 Filed 02/20/19                  Page 2 of 2 PageID 372


DATED this 20th day of February, 2019.



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                                     CERTIFICATE OF SERVICE

       I certify, that on February 20, 2019, I filed the foregoing using the Clerk’s ECF system

which will serve an electronic copy on the following:

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